                     UNITED STATES DISTRICT COURT

                     MIDDLE DISTRICT OF LOUISIANA


VOICE OF THE EXPERIENCED, A                                       CIVIL ACTION
MEMBERSHIP ORGANIZATION ON
BEHALF OF ITSELF AND ITS
MEMBERS, ET AL.

VERSUS

JAMES LEBLANC, ET AL.                                    NO. 23-01304-BAJ-EWD

                                     ORDER

      Considering the Joint Letter Requesting Status Conference (Doc. 194),

      IT IS ORDERED that a telephone status conference be and is hereby SET for

March 6, 2025, at 2:00 P.M. Dial-in instructions will be emailed to counsel prior to

the conference.

                                Baton Rouge, Louisiana, this 3rd day of March, 2025



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                                      JUDGE BRIAN A. JACKSON
                                      UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF LOUISIANA
